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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE                                MDL No. 1456
LITIGATION
                                                       Master File No. 01-12257-PBS

                                                       Judge Patti B. Saris


THIS DOCUMENT RELATES TO:

BMS PROPOSED SETTLEMENT


                              DECLARATION OF ANNA CHOICE

        I, Anna Choice, pursuant to 28 U.S.C. § 1746, declare as follows:

        1.       My name is Anna Choice and I am a resident of the State of Illinois. I have

personal knowledge of the facts stated below and will testify in court to the same if called upon

to do so.

        2.       I am submitting this Declaration in support of an incentive award for the time I

spent on this litigation that is attributable to Track 1 Defendant Bristol Myers Squibb ("BMS")

My previous Declaration, which was submitted in conjunction with the settlement entered into

with Track 1 Defendant GlaxoSmithKline ("GSK"), was overly inclusive.

        3.       I am a member of the United Food and Commercial Workers Union and

Employers Midwest Health Benefits Fund ("UFCW").

        4.       I underwent chemotherapy in 2000-2001. As part of my treatment, I was

prescribed and made payments for Rubex and Cytoxan, which are manufactured by Bristol-

Myers Squibb ("BMS")
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        5.       I became involved in this lawsuit in September 2005. Over the next few months,

I spent a considerable amount of time searching and collecting medical and financial records and

assisting my attorneys in collecting all other necessary documents from my doctors and banks.

This process required some time and effort since the records were in some cases more than a

year old.

        6.       I was added as a Proposed Class 3 representative (TPPs and Consumers for AWP-

Based Charges on Physician Administered Drugs Outside of Medicare) to the Third Amended

Class Action Complaint on October 17, 2005.

        7.       I had my deposition taken on November 10, 2005, and spent some time preparing

with my attorneys beforehand.

        8.       In November 2006, I traveled to Boston to prepare with my attorneys and to

testify at the trial against Track I Defendants AstraZeneca ("AZ") and BMS.

        9.       Throughout the case, I have regularly stayed in contact with my attorneys,

receiving and reviewing status reports, answering any questions they had, and generally being

available to assist with the lawsuit in any way possible.

        10.      I did not make contemporaneous records of my time as an attorney would. The

following chart, however, reflects my best estimate of the time I spent on various activities

throughout the case. It has been cross-checked for accuracy against the records kept by my

attorneys.




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  Working with lawyers to contact doctor(s) and bank(s) to          12 hours over several days
  obtain documents and completing bank and medical
  records waivers

  Preparing for deposition                                          4 hours

  Attending deposition                                              7 hours

  Talking to attorneys or paralegals regarding the status of        6 hours
  the case, responding to their inquiries or questions
  regarding my documents, and/or providing information to
  compile affidavits for use in the lawsuit

  Approximate Total Hours Expended on the Overall                   41 hours
  Case Against All Defendants



                         Time Spent on Trial of TrackI I UT flITIBMS

                             Activity                                         Hours

  Discussing my trial affidavit with my attorneys; Reviewing        2 hours
  and signing my trial affidavit

  Telephone calls with my attorneys regarding testifying at         2 hours
  trial;

  Traveling to Boston; preparing to testify with attorneys;         24 hours (8 hours x 3 full
  waiting to testify; testifying at trial                           days left Chicago on 11/6
                                                                         -



                                                                    and returned on 11/8)

  Approximate Total Hours Expended on the Trial of                  28 hours
  Track I Defendant BMS

       11.     I was administered and made payments for three different Track I drugs, which

were manufactured by BMS (Rubex and Cytoxan) and GSK (Zofran). This affidavit is in

relation to a Settlement reached with BMS only, one of five Track I defendants. Because 2 of

the 3 Track 1 drugs I was administered and made payments for were manufactured by BMS, the

total number of hours I have spent on the overall case against all defendants (41) multiplied by

2/3 is my best estimate of my time attributed to the case against BMS. This totals 27.33 hours.



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        12.    Additionally, the entire time I spent preparing for, attending and making myself

available to testify at the trial of Track I defendant BMS should be attributed to the case against

BMS. This totals 28 hours.

        13.    I understand from Co-Lead Counsel that the Court has indicated that a fair rate of

reimbursement for time spent on this litigation by class representatives might be $100.00 per

hour. At the rate of $100.00 per hour, the value of the estimated time I spent litigating the case

against BMS (27.33 + 28 = 55.33 hours) is equal to $5,533.00.

        I declare under penalty of perjury that, to the best of my knowledge, the foregoing is true

and correct.

Dated: April 7, 2011                          Is! Anna Choice
                                              Anna Choice
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                                 CERTIFICATE OF SERVICE

        I hereby certify that I caused a copy of the foregoing Declaration of Anna Choice to be
filed electronically via the Court’s electronic filing system. Those attorneys who are registered
with the Court’s electronic filing system may access these filings through the Court’s system,
and notice of these filings will be sent to these parties by operation of the Court’s electronic
filing system. Those attorneys not registered with the Court’s electronic filing system will be
served by U.S. Mail this 8 th day of April, 2011.




                                                     Is! Kenneth A. Wexler
